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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                               Chapter 11

 MIAMI METALS I, INC., et al.,                        Case No. 18-13359 (SHL)

                        Debtors.                      (Jointly Administered)

                                                      Related to ECF No. 1217


                                    NOTICE OF APPEAL

          Fundación Rafael Dondé, I.A.P. (the “Foundation”), by and through its undersigned

counsel, hereby appeals under 28 U.S.C. § 158(a) and Rule 8003(a) of the Federal Rules of

Bankruptcy Procedure the Order Granting Debtors’ Emergency Motion (I) to Enforce Automatic

Stay Against Fundacion Rafael Donde I.A.P., (II) to Hold Fundacion Rafael Donde I.A.P. in

Contempt of Court, (III) for an Award of Sanctions Against Fundacion Rafael Donde I.A.P., and

(IV) for Related Relief (the “Order”), dated June 28, 2019 [ECF No. 1217], a true and correct copy

of which is attached hereto as Exhibit A, granting Debtors’ Emergency Motion (I) to Enforce

Automatic Stay Against Fundacion Rafael Donde I.A.P., (II) to Hold Fundacion Rafael Donde

I.A.P. in Contempt of Court, (III) for an Award of Sanctions Against Fundaction Rafael Donde

I.A.P., and (IV) for Related Relief [ECF No. 1003].



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       The names of all parties to the Order and the names, addresses and telephone numbers of

their respective attorneys are as follows:

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                                             Appellee

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Dated: New York, New York
       June 28, 2019
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